UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

ERIC R. SPRONZ,
Plaintiff, AFFIDAVIT
-against-
COUNTY OF SUFFOLK, SUFFOLK COUNTY EXECUTIVE
STEVEN BELLONE, in his official capacity only.
SUFFOLK COUNTY POLICE COMMISSIONER RODNEY K.
HARRISON, in his official capacity only, SUFFOLK
COUNTY COMMANDING OFFICER OF THE PISTOL LICENSING
BUREAU LIEUTENANT MICHAEL KOMOROWSKI, in his
official capacity only, SUFFOLK COUNTY POLICE
OFFICER KEVIN WUSTENHOFF, in his individual and
official capacity, SUFFOLK COUNTY POLICE
OFFICER/PISTOL LICENSING BUREAU,
in his individual and official
capacity, JOHN AND JANE DOE NO. 1-10, in their
official and in their individual capacity.
Defendants.
COUNTY OF SUFFOLK )
STATE OF NEW YORK )

ERIC R. SPRONZ, hereby affirms under the penalty of perjury
the following:

1. I am the plaintiff in the above captioned matter and as
such I am fully familiar with all the facts, circumstances and
proceedings heretofore.

2. As the plaintiff in the above captioned matter, I
verified the Complaint.

3. I submit this Affidavit in support of this Order to

Show Cause to seek the return of my pistol license and the return

of all my weapons seized by the Suffolk County Police Department
Pistol License Section.

4. On February 18, 2023, I assisted my office manager from
moving out of her soon to be former brother-in-law’s home as she
was involved in a divorce proceeding with her husband and had to
leave the marital apartment. I arrived with 4 other people. I
drove my pick-up truck to the location to carry the items. We had
to move one large couch & Dresser. I am licenced to carry a
firearm as I am a Neuropsychiatric Nurse Practitioner, I am on
call for response to my patients. Please see copy of my Pistol
License annexed hereto as Exhibits “1” and “2". I make various
house calls with controlled substances. I have a DEA license
number to proscribe, order, inject, administer and deliver
controlled substances to all types of patients, including
terminally ill hospice patients needing pain relief. Plaintiff’s
DEA License Number is MS3918197.

5. While at the location I leaned into my vehicle to
obtain tools to disassemble the items that we were moving when my
office manager’s landlord, her husband’s brother, approached me
and made a statement “you are wearing a gun” which was more of a
question than a statement. I answered him by stating that I was
licensed to carry a weapon and I do so. He then asked if I was
law enforcement, even though he was well aware that I am not. I
answered no, I am not affiliated with any law enforcement
organization. He then walked away. A few minutes later a

Suffolk County Police car arrived. The officers approached me
and they were courteous and asked if I had a weapon. I stated
that I did and was instructed to remove it, render it safe and
allow them to inspect it. I advised that I had a business/carry
issued on May 14, 2021, and upgraded to concealed carry weapon in
November of 2022, They inspected my weapon and my permit and
advised that the landlord made a complaint that he saw my weapon. I
advised that I did not expose my weapon at any time. The police
report that I was cooperative with notifying responding officers of my
weapon (See Police Report annexed hereto as Exhibit “3”). The police
then returned my weapon and I left the location with the furniture and
thought nothing of the event as the responding officers stated there
was no issue.

6. Notwithstanding the responding officer’s lack of concern I
sent a statement to Pistol Bureau via fax on February 18, 2023
notifying the Suffolk County Pistol License Section of the encounter
as is required the Suffolk County Pistol License Handbook. Please see
copy of statement annexed hereto as Exhibit “4”,

7. On February 27, 2023, I received a telephone call from
Police Officer Wustenhoff advising that my Pistol License was
suspended and that I had “30 minutes to go and surrender your guns or
I will send an officer to come and get them”. It was snowing and I
said that I was putting my son to sleep and that I could not make it
there in 30 minutes. I was told to “get someone to watch him or I can
send a car to your house to collect the guns”. Police Officer
Wustenhoff then stated “You should think about having her as the
office manager, she and everyone in that house drug arrests”. He also

stated “knowing that there was a potential for domestic violence makes
me wonder about your moral character and you have a gun around your 7
year old”. I was stunned by these inappropriate comments. On 2/27/23
at approximately 9:20 p.m. or so I arrived at the 6th Precinct in
Selden as it took me some time to get there because it was snowing
very heavily at that point. I went in first and was informed of the
need to surrender my weapons and license as per Police Officer
Wustenhoff. They explained the process. Then an officer escorted me
to my vehicle and retrieved my weapons. Hand guns all cleared and
verified by desk officer. See attached Inventory Sheet annexed hereto
as Exhibit “5”.

8. On February 28, 2023, I contacted Ray Tierney, District
Attorney for Suffolk County, for clarification on the issue as I had
never exposed, shown, removed, held or did anything but have a pistol
in a holster on my belt. Mr. Tierney said that he will look into it.

9. On March 3, 2023 I contacted Suffolk County Police
Department Deputy Chief Chris Bergold, and advised him of the event
and my subsequent suspension.. I also advised him of my conversations
regarding the very unprofessional Police Officer Wustenhoff. The
Deputy Chief stated “I know him and he is a real buffoon. [I'll call
over to the head of the pistol division”. At that time the Deputy
Chief stated that “you can google Wustenhoff” in reference to P.O.
Wostenhoff. I did as instructed and learned that P.O. Wustenhoff had
lied to cover up for a fellow Suffolk County Police Officer who
injured people while driving intoxicated. P.O. Wustenhoff claimed he
had given the other officer a breathalyzer test when he had not.

In the afternoon on March 3, 2023 I found a Notice from the United

States Post Office advising that I had a certified letter. The
following day, March 4, 2023, I picked up the certified letter at the
Port Jefferson Station Post Office. Their letter was dated 2/27/23.
Please see a copy of said letter annexed hereto as Exhibit “6”.

10. This letter advised that I submit in writing a notarized
letter regarding the original incident. I contacted the people who
were with me on the date of the incident and obtained sworn witness
statements from Dan Walker and Marie Allgiere see Exhibit “7".

li. On March 6, 2023, I sent my statement with color photographs
demonstrating the clothes that I wore on the day of the incident and
that my gun was always concealed. I sent both my statement along with
the witness statements via certified mail. Please see statements
dated March 5, 2023 with photographs, annexed hereto as Exhibit “8”.

12. On March 8, 2023, Police Officer Wustenhoff contacted me by
telephone at approximately 12:00 p.m. He was furious stating that I
should not have sent anything but my witness statement and that I had
no right to send in the other sworn statements. He demanded to know
why I had done so and I stated that I was advised by counsel to
provide my statement and the statements of any witnesses who were
available on the day of the incident.

13. On or about March 29, 2023, I was called and notified
by Lieutenant Komorowski that my pistol permit was suspended and
my weapons were seized due to a false allegation that my weapon
was exposed and in view. I asked when I would get my license and
weapons returned and was advised that it was a 6 month
suspension. I requested when I would receive something in writing

and was told I would not be getting anything in writing. I then
on the advice of counsel contacted Police Officer Wustenhoff the
following Monday April 3, 2023 to confirm this and was told the
same thing. I inquired of him as to when I would get something in
writing and he too advised that nothing in writing would be
coming to me and they would advise me when my suspension period
was over.

14. I complied and surrendered my pistol permit and
weapons. I ama law abiding citizen. I have committed no act or
crime for which I should be punished, nevertheless disarmed from
carrying a firearm. At no point have I been charged or convicted
or a crime. At no point have I been committed to a mental health
facility. The defendants, individually and jointly, have taken my
firearms and not allowed the return of my firearms. I am
suffering great financial harm as I now cannot deliver the
controlled medications to many of my patients who live in high
crime areas. The defendants, individually and collectively, have
enforced a policy against me that serves to deprive me of my
ability to exercise my Second Amendment rights. I point out that
this policy is more draconian than the red flag laws being struck
down by the federal and state courts. Here the Suffolk County
Police Department has summarily decided that I have violated a
rule they made up which is found no where in their handbook which
they claim sets out all their rules regarding carrying a firearm.
They have sought no court intervention and they alone are the

triers of all facts and law without any neutral and detached
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magistrate reviewing the matter. Their word is the law and let no
man challenge their authority and the U.S. Constitution and all

of its Amendments, including but not limited to the 2"

Amendment, the 4*° Amendment, 5° Amendment, as well as all others

that may apply be damned.

Dated: April 19, 2023
Central Islip, New York

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vic R. Seronz
Sworn to before me this Lise

day Mp 023

Notary Public

 
  

  
    
   
   

WILLIAM SERVELLON
Notary Public - State of New York
NO. G1SE6260118
; Qualified in Queens County ;
@ My Commission Expires Jun 43, 2024 §
